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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                          3/29/21


 United States of America,

                –v–
                                                                   20-CR-330 (AJN)
 Ghislaine Maxwell,
                                                                        ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:

       The Court is in receipt of the Government’s letter responding to its March 18, 2021 order

regarding redactions to its omnibus memorandum of law in opposition to the Defendant’s twelve

pretrial motions. Dkt. No. 170.

       As the Government now indicates, the information that the Defendant sought to redact on

pages 129–134 of the brief is already part of the public record in this case. S1 Superseding

Indictment, Dkt. No. 17, at 16–17. Once information has become part of the public record, any

interests that might have supported keeping it confidential largely dissipate. See United States v.

Nejad, No. 18-CR-224 (AJN), 2021 WL 681427, at *11 (S.D.N.Y. Feb. 22, 2021); Cunningham

v. Cornell Univ., No. 16-CV-6525 (PKC), 2019 WL 10892081, at *3 (S.D.N.Y. Sept. 27, 2019).

In light of this fact and because the Court has been provided no further explanation for the

request to keep this redacted, the Court ORDERS that the information contained on pages 129–

134 of the Government’s brief be unredacted.

        With respect to the proposed redactions to pages 118–119 and Exhibit 11, the Court now

understands that the parties seek redactions on the basis that the material has been maintained

under seal in Giuffre v. Maxwell, Case No. 15-cv-7433 (S.D.N.Y.). In light of the presumption

of access, however, the Court requires a separate justification, and must engage in its own


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analysis, to maintain that information under seal here. Each redaction should be specifically

justified and tailored, taking into account whether the information (or comparable information) is

already in the public record.

        By April 1, 2021, the parties must meet and confer and either submit to the Court

justification for those redactions—beyond that it has been ordered redacted in the civil matter—

or, in the alternative, notify the Court that the parties are no longer seeking those redactions. If

the parties disagree, they shall indicate their separate views in the joint letter.

        SO ORDERED.

Dated: March 29, 2021                                  __________________________________
       New York, New York                                      ALISON J. NATHAN
                                                             United States District Judge




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